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IN THE UNITED sTATEs DlsTRlCT CoURT` /
FoR THE WESTERN DISTRICT oF TENNESSEE § ,

 

WESTERN DIVISION
GEORGE PHILLIPS, )
Plaintiff, §
v. § NO. 03-2402 An
CDA INCORPORATED, §
Defendant. §

 

JUDGMENT IN A CIVIL CASE

 

JUDGMENT BY COURT. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

IT IS THEREFORE ORDERED AND ADJUDGED that in accordance With the Court’s
Opinion and Order entered on March 29, 2005, judgment is hereby entered in favor of P]aintiff
George Phiilips and against Defendant CDA, lncorporated for $15,862.95 in unpaid overtime pay
and liquidated damages and for $7,500.00 in attorney’s fees.

APPROVED:

é.%m @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

HOBERT R. Dl TROL|U

277/w /¢F,, 2005
Date / C]erk of Court

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(By) v jepuMClerk v

 

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Tnis comment entered on the docket sheet in compliance
with Ru?e 58 and/or 79(a) FRCP on ‘ '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
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Honorable S. Anderson
US DISTRICT COURT

